                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION


WHIRLPOOL PROPERTIES, INC.,                   )
WHIRLPOOL CORPORATION, and                    )
MAYTAG PROPERTIES, LLC,                       )
                                              )
              Plaintiffs,                     )
                                              )
v.                                            ) Civil Action No. 3:17-cv-00601-FDW-DCK
                                              )
FILTERS FAST, LLC                    ,        )
                                              )
              Defendant.                      )
                                              )


             NOTICE OF APPEARANCE OF BENJAMIN F. SIDBURY

       Benjamin F. Sidbury of the law firm of Bryan Cave LLP hereby enters his

appearance as attorney of record for Defendant Filters Fast, LLC (“Defendant”) in the

above-captioned case. All pleadings, notices, orders, and other documents to be served in

this matter should hereafter be served upon the undersigned counsel.

       Respectfully submitted, this 17th day of October, 2017.

                                         /s/ Benjamin F. Sidbury
                                         Benjamin F. Sidbury (N.C. Bar # 28071)
                                         ben.sidbury@bryancave.com
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                                         ATTORNEY FOR DEFENDANT




     Case 3:17-cv-00601-FDW-DCK Document 7 Filed 10/17/17 Page 1 of 2
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WHIRLPOOL PROPERTIES, INC.,                 )
WHIRLPOOL CORPORATION, and                  )
MAYTAG PROPERTIES, LLC,                     )
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              Plaintiffs,                   )
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v.                                          ) Civil Action No. 3:17-cv-00601-FDW-DCK
                                            )
FILTERS FAST, LLC                    ,      )
                                            )
              Defendant.                    )
                                            )


                               CERTIFICATE OF SERVICE

       I have this date filed electronically the within and foregoing Notice of Appearance of
Benjamin F. Sidbury, and a copy of the same will be served electronically upon the attorneys of
record via the Court’s CM/ECF system.

       This 17th day of October, 2017.


                                                    s/ Benjamin F. Sidbury
                                                    Benjamin F. Sidbury




      Case 3:17-cv-00601-FDW-DCK Document 7 Filed 10/17/17 Page 2 of 2
